                   Case 22-11068-JTD              Doc 1464        Filed 05/09/23          Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                                       Chapter 11
In re:
                                                                       Case No. 22-11608 (JTD)
FTX TRADING LTD., et al.,1
                                                                       (Jointly Administered)
                             Debtors.



                                              NOTICE OF SERVICE

                    PLEASE TAKE NOTICE that, on May 5, 2023, the undersigned counsel to Brian

C. Simms KC, Kevin G. Cambridge, and Peter Greaves (“Joint Provisional Liquidators”), in

their capacity as duly appointed joint provisional liquidators of FTX Digital Markets Ltd. (“FTX

Digital”) and foreign representatives of the Provisional Liquidation of FTX Digital, served The

Joint Provisional Liquidators’ Request for Production of Documents to U.S. Debtors on the

following counsel in the manner indicated below:


    VIA EMAIL                                                      VIA EMAIL
    Andrew G. Dietderich                                           Kenneth Pasquale, Esq.
    James L. Bromley                                               Isaac S. Sasson, Esq.
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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063 respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list of
    such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


RLF1 28968797v.1
                   Case 22-11068-JTD   Doc 1464   Filed 05/09/23    Page 2 of 2




  Dated: May 9, 2023
         Wilmington, Delaware

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                                                  Liquidators of FTX Digital Markets Ltd. (In
                                                  Provisional Liquidation)




                                             2
RLF1 28968797v.1
